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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MICHAEL WALLACE, et al.,                           )
                                                   )
         Plaintiffs,                               )
                                                   )
v.                                                 )
                                                   )      Case No. 4:18-cv-00503
COMMUNICATIONS UNLIMITED, INC.,                    )
et al.,                                            )
                                                   )
         Defendants.                               )

                        DEFENDANTS’ MOTION TO COMPEL
                INDIVIDUAL ARBITRATIONS AND TO STAY LITIGATION

         Defendants C.U. Employment, Inc., Communications Unlimited of the South, Inc., and

Communications Unlimited Contracting Services, Inc. (collectively, “Defendants”), by and

through their undersigned counsel, respectfully request that this Court enter an order under the

Federal Arbitration Act, 9 U.S.C. §§ 1, et seq.:

         1.      Compelling Plaintiff Michael Wallace to arbitrate his claims on an individual

basis against Defendants;

         2.      Compelling Plaintiff Christian Johnson to arbitrate his claims on an individual

basis against Defendants;

         3.      Compelling Plaintiff Jeffrey Super to arbitrate his claims on an individual basis

against Defendants;

         4.      Staying all further proceedings in this case pending the arbitration, including the

time for Defendants to answer or otherwise respond to the Complaint; and,

         5.      Dismissing the putative class claims with prejudice.




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       In support of this motion, Defendants incorporate by reference the accompanying

memorandum in support.

       WHEREFORE, Defendants respectfully request that this Court compel individual

arbitrations against Defendants under 9 U.S.C. § 4, stay this litigation under 9 U.S.C. § 3,

including Defendants’ time to answer the Complaint, and dismiss the putative class claims with

prejudice.


                                                  Respectfully submitted,

                                                  OGLETREE, DEAKINS, NASH,
                                                  SMOAK & STEWART, PC.

                                                  /s/ David L. Schenberg
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                                                  ATTORNEYS FOR DEFENDANTS C.U.
                                                  EMPLOYMENT, INC., COMMUNICATIONS
                                                  UNLIMITED OF THE SOUTH, INC., AND
                                                  COMMUNICATIONS UNLIMITED
                                                  CONTRACTING SERVICES, INC.




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                                 CERTIFICATE OF SERVICE

       I certify that a true copy of the foregoing was filed electronically with the Clerk of the
Court to be served by operation of the Court’s electronic filing system on June 8, 2018, to the
following:

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                                                      /s/ David L. Schenberg

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